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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)             ‫ ܆‬Original     ‫ ܆‬Duplicate Original


            LODGED
     CLERK, U.S. DISTRICT COURT
                                     UNITED STATES DISTRICT COURT                                                 FILED
                                                                                                         CLERK, U.S. DISTRICT COURT



     05/03/2021                                             for the
                                                                                                             5/3/2021
  CENTRAL DISTRICT OF CALIFORNIA
                AP
   BY: ____________BB______ DEPUTY
                                               Central District of California                         CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                DC
                                                                                                        BY: ___________________ DEPUTY
 United States of America,

                        v.
                                                                      Case No. 5:21-mj-00325
 John Runnels,

                        Defendant.


                                      CRIMINAL COMPLAINT BY TELEPHONE
                                     OR OTHER RELIABLE ELECTRONIC MEANS

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of March 15, 2021 in the county of Riverside in the Central District of California, the

defendant violated:

             Code Section                                             Offense Description

             21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii), and             Possession of 50 grams or More of
             18 U.S.C. § 924(c)(1)(B)(i)                              Methamphetamine with Intent to
                                                                      Distribute) and Possession of a Short-
                                                                      Barreled Rifle in Furtherance of a
                                                                      Drug Trafficking Crime
          This criminal complaint is based on these facts:

           Please see attached affidavit.

          _ Continued on the attached sheet.
                                                                  /s/ Pursuant to Fed. R. Crim. P. 4.1
                                                                                    Complainant’s signature

                                                                               HSI Special Agent Sonny L. Villareal
                                                                                     Printed name and title
 Attested to by the applicant in accordance with the requirements
                                                        uiire
                                                           r me
                                                              ments
                                                               e of Fed. R. Crim. P. 4.1 by telep
                                                                                            telephone.

 Date:                    May 3, 2021
                                                                                         Judge’s signature

 City and state: Riverside, California                           Hon. Shashi H. Kewalramani, U.S. Magistrate Judge
                                                                                    Printed name and title
AUSA: John A. Balla (x6246)
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                                AFFIDAVIT
I, Sonny L. Villareal, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT
     1.      This affidavit is made in support of a criminal

complaint and arrest warrant against John RUNNELS for violations

of 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii) (Possession of 50

grams or More of Methamphetamine with Intent to Distribute) and

18 U.S.C. § 924(c)(1)(B)(i) (Possession of a Short-Barreled

Rifle in Furtherance of a Drug Trafficking Crime).

     2.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

arrest warrant and does not purport to set forth all my

knowledge of or investigation into this matter.         Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                       II. BACKGROUND OF AFFIANT
     3.      I am a Special Agent (“SA”) with the Department of

Homeland Security, Immigration and Customs Enforcement/Homeland

Security Investigations (“HSI”) and have been since April 2016.

I am presently assigned to the HSI Office of the Assistant

Special Agent in Charge, San Bernardino, California, Gang

Investigation Group.
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     4.     Before becoming an HSI SA, I worked for the United

States Customs and Border Protection as a Border Patrol Agent

(“BPA”) from December 2006 until April 2016.         As a BPA, I

primarily focused on investigating violations of the Immigration

and Nationality Act, serving as a Canine Handler and an

Intelligence Agent.     I also had many overlapping

responsibilities with my current role, as described in the

following paragraphs in this Section.

     5.     As an HSI SA, I have received basic law enforcement

training from the Federal Law Enforcement Training Center.

Specifically, I have received training to enforce Titles 8, 18,

19, and 21 of the United States Code.        I have received

approximately 12 months of training and have investigative

experience concerning drug identification and interdiction,

gangs, weapon offenses, investigative techniques, evidence

processing, immigration offenses, traffic enforcement, property

crimes, personal crimes, interviewing and interrogation,

dignitary   protection, identify theft, fraud and forgery
detection, false document detection, fugitive arrest operations,

federal criminal prosecution, the Spanish language, drug and

alcohol influence recognition, and general patrol officer

techniques and tactics.

     6.     During my career as a law enforcement officer, I have

initiated and participated in criminal investigations of

individuals and organizations for violations of state and

federal law.   I interviewed numerous subjects and witnesses

whose testimony has led to the arrest, indictment, and



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conviction of individuals for violating state and federal law.

I am familiar with the federal procedures involved in the

execution of federal search warrants.

     7.     As noted, I am assigned to the Gang Investigation

Group.    Specifically, I am currently a member of the Riverside

County Gang Impact Team (“GIT”), a multi-agency task force

investigating violent criminal street gang activities in

Riverside County, California.      This task force is composed of

sworn law enforcement personnel from HSI, Riverside County

District Attorney’s Office, the United States Border Patrol, the

Beaumont Police Department, the Banning Police Department,

Cathedral City Police Department, the Corona Police Department,

the Desert Hot Springs Police Department, the Hemet Police

Department, the Palm Springs Police Department, California

Department of Corrections and Rehabilitation, Murrieta Police

Department, the United States Marshall Service, and Immigration

and Customs Enforcement.

                   III. SUMMARY OF PROBABLE CAUSE
     8.       On March 15, 2021, an officer with the Hemet Police

Department (“HPD”), in a marked vehicle, conducted a traffic

stop on a Lexus for failure to stop at the posted stop sign and

for having tinted front windows.        The driver and sole occupant

of the vehicle was RUNNELS.      Record checks revealed that the

vehicle was registered to RUNNELS and that RUNNELS had a

criminal history that included felony convictions.

     9.     After smelling alcohol on RUNNELS and seeing an open

bottle of alcohol in the vehicle, the officer asked RUNNELS to



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step out of the car.     The officer then noticed a small baggy

containing a white crystalline substance on the driver’s side

floor panel.      RUNNELS was then placed under arrest and the Lexus

was towed.     Officers found a large amount of cash in RUNNELS’s

pocket.     During an inventory search of the Lexus, officers found

a loaded short-barreled rifle and a cannister containing empty

baggies and about 185 grams of methamphetamine.

                     IV. STATEMENT OF PROBABLE CAUSE
     A.      Arrest of RUNNELS
     10.     I reviewed reports and photographs from HPD, and I

learned the following:

             a.    On March 15, 2021, while on patrol in Hemet,

California, an HPD officer stopped a Lexus ES350 for tinted

front windows, a violation of California Vehicle Code Section

26708(a).

             b.    The officer approached the Lexus and contacted

RUNNELS, the driver and sole occupant.        The officer smelled

alcohol emitting from RUNNELS and saw a partially empty bottle

of Hennessy liquor near the driver’s seat and center console.

Based on these facts, the officer asked RUNNELS to step out of

the vehicle to conduct field sobriety tests.

             c.    RUNNELS was uncooperative and began to reach

toward the center console.       The officer was able to grab

RUNNELS’s left hand and prevent him from retrieving anything

from the vehicle.     Eventually, RUNNELS stepped out of the

vehicle, but he remained passively defiant and refused to follow

commands.    The HPD officer attempted to conduct a pat down



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search of RUNNELS person, but he continued to refuse commands

and made his body rigid and stiff.       Based on these facts, the

officer did not feel it to be safe to conduct field sobriety

tests, so he detained RUNNELS.

           d.    After detaining RUNNELS, the officer noticed a

small baggy containing a white crystalline substance on the

driver’s side floor panel of the Lexus.        Based on his training

and experience, he believed the substance to be methamphetamine.

The officer then placed RUNNELS under arrest and began the

process to tow the Lexus.

           e.    The officer searched RUNNELS incident to arrest,

and he found $445 in various denominations (1 x $100 bill; 13 x

$20 bill; 3 x $10 bill; 10 x $5 bill; and 5 x $1 bill) in

RUNNELS’s front pants pocket.

           f.    During an inventory search of the Lexus, officers

found the following.

                 i.    A loaded Marlin Firearms .22 caliber rifle,

Model 795, in between the driver’s seat and door.          A record
check of the firearm revealed no prior record of sale.          An

examination of the rifle revealed it had been modified and the

barrel of the rifle had been sawed off.        The firearm was loaded

with nine rounds of .22 caliber ammunition within the magazine,

one round of .22 caliber ammunition in the chamber, and an

additional one round of .22 caliber ammunition jammed in the

extraction port.

                 ii.   An iced tea concentrate cannister containing

several empty baggies in the cannister.        The cannister had a



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hidden compartment in the base with five baggies collectively

containing 185.5 grams of a substance that field-tested positive

for methamphetamine, as well as baggies containing a small

amount of substances that tested positive for crack cocaine and

heroin. 1
     11.    In my training and experience, I believe that RUNNELS

intended to distribute the drugs found in his car and that he

possessed the rifle in furtherance of his drug trafficking based

on the following.

            a.   Typical methamphetamine users use about .1 gram

of methamphetamine per day, and they often do not buy or carry

more than a few doses on them at any given time.         RUNNELLS

possessed about 1,800 typical doses of methamphetamine, far more

than a typical user would carry for personal use.          Based on

average street prices, the methamphetamine he possessed was

worth approximately $3,700.

            b.   RUNNELS had a large amount of cash on his person

in varying denominations.      Carrying a large amount of cash,

particularly in different small denominations, is typical of

street-level drug dealers.

            c.   The cannister containing the drugs also contained

empty baggies, and drug traffickers often carry empty baggies to

divide and sell smaller quantities of their drugs.

            d.   RUNNELS carried a short-barreled rifle, and drug

traffickers often possess firearms for protection.          Drug

     1 I expect to receive the evidence from HPD soon, and, when
I do, I plan to send the suspected methamphetamine to the DEA
lab for analysis.


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trafficking is a dangerous business because of the large amount

of cash involved and because the drugs themselves are valuable.

Thus, drug traffickers are often robbed, and they often feel

that they cannot seek help from law enforcement because doing so

would entail admitting to their own criminal activity.          Drug

traffickers therefore often possess firearms to protect

themselves, their money, and their drugs.

        B.    Criminal History
        12.   I reviewed RUNNELS’s certified conviction documents

and learned that RUNNELS has the following prior felony

conviction punishable by a term of imprisonment exceeding one

year:

              a.   On April 11, 2006, in case number SWF010687, in

the Superior Court of the State of California, Riverside County,

for a violation of California Health and Safety Code Section
11352(a), Transport or Sell a Controlled Substance.

        C.    Firearm Examination
        13.   On April 9, 2021, ATF SA Monica Lozano, who has

special training in determining the manufacturing origin of

firearms and ammunition, examined the firearm and ammunition

seized from RUNNELS.     SA Lozano determined that neither the

firearm nor ammunition were manufactured in the State of

California.

        14.   She also determined that the rifle had a cut barrel

with a length of approximately 9-3/10 inches and a stock cut to

a pistol grip, giving the weapon an overall length of

approximately 19 inches.     Therefore, the weapon was a weapon



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made from a rifle having a barrel less than 16 inches in length

and an overall length of less than 26 inches, making it a

“firearm” under the National Firearms Act, 26 U.S.C. § 5845, and

a “short-barreled rifle” under 18 U.S.C. § 924(c)(1)(B)(i).

                             IV. CONCLUSION
     15.   For all the reasons above, there is probable cause to

believe that RUNNELS has committed violations of 21 U.S.C.

§§ 841(a)(1), (b)(1)(A)(viii) (Possession of 50 grams or More of

Methamphetamine with Intent to Distribute) and 18 U.S.C.

§ 924(c)(1)(B)(i) (Possession of a Short-Barreled Rifle in

Furtherance of a Drug Trafficking Crime).


Attested to by the applicant, HSI
SA Sonny L. Villareal, in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____
                  3rd day of
_________,
May        2021.



UNITED STATES MAGISTRATE JUDGE




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